945 F.2d 398
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Phillip Bernard KANE, a/k/a Ghost, Defendant-Appellant.
    No. 91-6272.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 29, 1991.Decided Oct. 1, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Alexander Harvey, II, Senior District Judge.  (CR-85-507-H;  CA-90-1097)
      Phillip Bernard Kane, appellant pro se.
      Catherine Curtis Blake, Office of the United States Attorney, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before DONALD RUSSELL, CHAPMAN and WILKINS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Phillip Bernard Kane appeals from the district court's order refusing relief under 28 U.S.C. § 2255.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   United States v. Kane, CR-85-507-H;  CA-90-1097 (D.Md. Dec. 6, 1990).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    